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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FAITH B.,
                       Plaintiff,                  :
                                                   :
           v.                                      :       Civ. No. 22-2313

PENNSBURY SCHOOL DISTRICT,
              Defendant                            :
                                                   :

                                       STANDING ORDER


PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THIS CASE AND MAY
DIFFER IN SOME RESPECTS FROM THE LOCAL RULES. THE TERM “COUNSEL,”
AS USED IN THIS ORDER, INCLUDES PARTIES APPEARING PRO SE.


       AND NOW, this 14th day of June, 2022, in an effort to comply with Federal Rule of Civil

Procedure 1’s mandate “to secure the just, speedy, and inexpensive determination of every action,”

it is hereby ORDERED as follows:

I.     SERVICE

       A. This Order.

                Counsel for Plaintiff(s) shall serve this Order immediately on all Parties and/or their

       Counsel, including any new parties to the action. If this case was removed from state court,

       Defendant(s) who removed the case shall serve this Order on all other parties.

       B. The Complaint.

                Plaintiff(s) shall serve the Complaint expeditiously in accordance with Federal

       Rules of Civil Procedure 4 and 5. Any Defendant not timely served under Rule 4(m) shall

       be dismissed from the action without prejudice.
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II.    ELECTRONIC FILING

               In accordance with Local Rule 5.1.2, I require that the Parties file electronically all

       documents via Electronic Case Filing. The Parties shall file all stipulations and proposed

       orders on the docket via ECF. Stipulations and proposed orders should not be delivered to

       the Clerk of Court.

III.   ASSIGNMENT TO MAGISTRATE JUDGE

               The Parties may consent to have a magistrate judge preside over all proceedings,

       including trial. See 28 U.S.C. § 636. The consent form is available on the Court’s website

       at http://www.paed.uscourts.gov/documents/handbook/forms/app_q1.pdf.

IV.    PRELIMINARY PRETRIAL CONFERENCE

               Pursuant to Rule 16, a Preliminary Pretrial Conference shall be held in Chambers

       as soon as practicable after a responsive pleading to the Complaint is filed. Lead Counsel

       shall attend the conference, be familiar with all aspects of the case, and have full authority to

       negotiate an amicable settlement. Counsel shall be accompanied by his or her client, or, in

       the case of corporate parties, a representative with full settlement authority (and, where

       applicable, an insurance representative with full settlement authority). Requests to appear

       telephonically will not be granted.

V.     DISCOVERY

       A. Discovery Disputes Should Generally Be Settled by the Parties.

               Discovery shall begin as soon as possible. I am not inclined to grant any

       extensions respecting the discovery or other case-related deadlines.               In ordinary

       circumstances, I expect that discovery will be well underway by the date of the

       Preliminary Pretrial Conference.




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        I expect Counsel to comply with the Federal Rules of Civil Procedure and all Local

Rules respecting discovery. In accordance with Rule 1 and the conciliation requirements

of Local Rule 26.1(f), Counsel shall make reasonable efforts to resolve discovery disputes

among themselves in an expeditious and professional manner.            Before bringing a

discovery dispute to my attention, Counsel must certify that they have made a reasonable

effort to resolve the dispute.

       Counsel shall bring any unresolved discovery disputes to my attention as soon as

possible.   Counsel shall email a brief letter describing the dispute to Chambers

(Chambers_of_Judge_Paul_S_Diamond@paed.uscourts.gov) and attach the disputed

discovery request as an exhibit. Unless otherwise ordered, discovery will not be stayed

while any motion is pending, including any motion to dismiss and/or motion for protective

order. Ordinarily, I will schedule a telephone conference to resolve the discovery motion

promptly after it is filed—usually before any response is due.

        If a dispute arises during a deposition, I expect Counsel to phone Chambers during

the deposition so that I can resolve the dispute immediately.

B. Objections to Rule 34 Discovery Requests

        In objecting to a discovery request served under Rule 34, the Parties shall “state

with specificity the grounds for objecting to the request, including the reasons.” Fed. R.

Civ. P. 34(b)(2)(B). “An objection must state whether any responsive materials are being

withheld on the basis of that objection. An objection to part of a request must specify the

part and permit inspection of the rest.” Id. 34(b)(2)(C). General objections will rarely be

appropriate and may be punished by the imposition of sanctions.

C. Length of Discovery Period and Deadline Compliance.




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             The complexity of the case will dictate the amount of time allowed for discovery,

      which I will determine at the Preliminary Pretrial Conference. Generally, 30 to 75 days

      will be sufficient time for discovery unless the case is complex or otherwise out of the

      ordinary.

             I look unfavorably on attempts to ambush opposing Counsel with the production of

      evidence or witnesses past the applicable cutoff date in the Case Management Order. I

      take these dates seriously and expect Counsel to do so as well.

      D. Accidental Disclosure of Privileged Material

             Before the Preliminary Pretrial Conference, the Parties shall enter into a written

      clawback agreement stipulating to the treatment of privileged information accidentally

      disclosed in connection with the litigation pending before the Court. Fed. R. Evid. 502(e);

      see also Fed. R. Civ. P. 26(b)(5)(B).       By and through this Order, any privileged

      communications or materials covered by the clawback agreement shall be protected to the

      extent permited by law. Fed. R. Evid. 502(d). The Parties shall file the signed clawback

      agreement on the docket along with their Rule 26(f) Memorandum no later than seven

      days before the Preliminary Pretrial Conference.

VI.   MOTIONS PRACTICE

      A. Length and Format of Motion Papers.

             All motion papers must be double-spaced and prepared in 14-point, Times New

      Roman font, with margins of not less than one inch. Supporting memoranda of law shall

      not exceed twenty-five (25) pages (exclusive of table of contents and table of authorities),

      and replies shall not exceed twelve (12) pages. Declarations and affirmations shall be




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limited to twenty (20) pages each. I will grant Parties leave to exceed these page limits

only upon a showing of good cause.

B. Reply, Sur-reply, and Supplemental Briefs.

       Unless otherwise ordered, I will accept reply or supplemental briefs, but normally

will not await a reply brief before ruling. All reply briefs must be submitted within

fourteen (14) days of the response brief unless otherwise ordered. All sur-reply briefs

must be submitted within seven (7) days of the reply brief. Reply and sur-reply briefs

shall not include declarations or exhibits.

C. Rule 56 Motions.

       When moving for summary judgment pursuant to Federal Rule of Civil Procedure

56, the moving party shall file a separate, short, and concise statement of material facts,

in numbered paragraphs, as to which the moving party contends there is no genuine issue

to be tried. Failure to include a statement of material facts may constitute grounds for

denial of a motion for summary judgment.

       The non-moving party shall include a correspondingly numbered paragraph

responding to each numbered paragraph in the statement of the moving party.

       Statements of material facts in support of or in opposition to a motion shall include

specific supporting record cites. All material facts set forth in the statement required to

be served by the moving party may be deemed admitted unless controverted by the

opposing party.

D. Emailing of Proposed Orders.

       I do not require the Parties to submit proposed orders with motions to dismiss or

motions for summary judgment. If a Party files a motion with a proposed order, he or she




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       shall email a copy of the proposed order, in Microsoft Word format, to

       Chambers_of_Judge_Paul_S_Diamond@paed.uscourts.gov on the day the motion is

       filed.

       E. Mandatory Chambers Copies.

                Unless otherwise ordered, a copy of all papers filed with the Court shall be

       delivered to Chambers no later than 12:00 noon the following business day. Chambers

       copies shall be printed single-sided on opaque white paper of high quality.

                If documentary evidence in support of or in opposition to a motion exceeds 50

       pages, the evidence shall be delivered to Chambers in hard copy. The documents shall be

       placed in a three-ring binder, with an index and with each item of evidence separated by

       tab dividers on the right side. In addition, Counsel shall provide a flash drive containing

       the documents in a single, OCR-scanned PDF with each item of evidence separated by

       labeled bookmarks. Counsel shall ensure that all documents are legible.

                Parties need not submit courtesy copies of cases that are available on Lexis or

       Westlaw with their motion papers.

       F. Oral Argument.

                I generally will not require oral argument on motions.

VII.   TRIAL PRACTICE

       A. Scheduling of Cases.

                I will schedule a trial date immediately following the Preliminary Pretrial

       Conference.

       B. Conflicts of Counsel.




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           If Counsel become aware of professional or personal conflicts that may affect the

    trial schedule, they shall notify the Civil Deputy or my Law Clerks immediately.

    C. Trial Date Extensions.

           I am extremely reluctant to grant continuances of trial dates.

    D. Stipulations of Counsel.

           Counsel shall agree upon or stipulate to as many matters as possible before trial.

    E. Order of Proof.

           I require Counsel each day to inform the Court and opposing Counsel of the

    witnesses he or she expects to call the next trial day.

VIII. CONTINUANCES OR EXTENSIONS OF TIME

           Requests for continuances and extensions will generally not be granted. A motion

    to continue or extend the date of any matter or deadline must be supported by a detailed

    declaration demonstrating good cause for the continuance. The motion must also indicate

    whether there have been previous requests for continuances or extensions and whether I

    have granted or denied those requests.

           Counsel shall include proposed orders when requesting continuances or extensions.

    Counsel must submit any request for a continuance or extension no later than five (5)

    business days before the scheduled date. Requests submitted after that time shall be

    denied absent a showing of compelling circumstances (e.g., serious bodily injury or

    illness). All requests must be filed via ECF.

           Any late filing may be docketed only with leave of Court and upon a showing of

    good cause. Counsel shall file a motion for leave to file out of time, supported by a

    declaration demonstrating good cause, and shall attach the late filing as an exhibit.




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IX.   COMMUNICATION WITH LAW CLERKS

                I permit Counsel to speak with my Law Clerks on scheduling and procedural

      matters only.

X.    CASES ON APPEAL

                I expect to receive a courtesy copy of any briefs filed in appeals from my decisions.


COUNSEL ARE REMINDED THAT RULE 1 REQUIRES THE PARTIES TO WORK
WITH EACH OTHER. OBSTRUCTIVE CONDUCT MAY RESULT IN THE
IMPOSITION OF SANCTIONS.


                                                              AND IT IS SO ORDERED.




                                                              s/Paul S. Diamond
June 14, 2022                                                 Paul S. Diamond, J.




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